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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND


 AMERICAN COLLEGE OF
 OBSTETRICIANS AND
 GYNECOLOGISTS, on behalf of its members
 and members’ patients,
 COUNCIL OF UNIVERSITY CHAIRS OF
 OBSTETRICS AND GYNECOLOGY, on
 behalf of its members and members’ patients,
 NEW YORK STATE ACADEMY OF
 FAMILY PHYSICIANS, on behalf of its
 members and members’ patients,
 SISTERSONG WOMEN OF COLOR
 REPRODUCTIVE JUSTICE COLLECTIVE,
 on behalf of its members and members’
 patients, and
 HONOR MACNAUGHTON, M.D.,

        Plaintiffs,
                                                         Civil Action No. TDC-20-1320
        v.

UNITED STATES FOOD AND DRUG
ADMINISTRATION,
STEPHEN M. HAHN, M.D., in his official
capacity as Commissioner of Food And
Drugs, and his employees, agents and
successors in office,
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES and
ALEX AZAR, J.D., in his official capacity as
Secretary, United States Department of
Health and Human Services, and his
employees, agents and successors in office,

        Defendants.



                                           ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby ORDERED

that the Motion for Intervention, ECF No. 51, filed by the States of Indiana, Louisiana, Alabama,
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Arkansas, Idaho, Kentucky, Mississippi, Missouri, Nebraska, and Oklahoma (“the States”), is

DENIED, and the States’ Memorandum in Opposition to Plaintiffs’ Motion for a Preliminary

Injunction, ECF No. 63, shall be construed as an amicus brief.



Date: June 15, 2020                                  /s/ Theodore D. Chuang
                                                    THEODORE D. CHUANG
                                                    United States District Judge




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